              Case 22-19815-SMG            Doc 8    Filed 12/26/22     Page 1 of 14




                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                             FT. LAUDERDALE DIVISION

 IN RE:                                            CASE NO. 22-19815-SMG

 KC FXE AVIATION INVESTMENTS, LLC, CHAPTER 11

       Debtor.


 IN RE:                                            CASE NO. 22-19816-PDR

 TERMINAL VENTURES, LLC,                           CHAPTER 11

       Debtor.



                      DEBTOR’S EX-PARTE MOTION FOR ENTRY
                  OF AN ORDER DIRECTING JOINT ADMINISTRATION

       KC    FXE       AVIATION       INVESTMENTS,         LLC    (“KCFXE”)      and   TERMINAL

VENTURES, LLC (“TV” and collectively with FXE, the “Debtors”), by and through their

proposed undersigned counsel, file this Ex-Parte Motion for Entry of an Order for Joint

Administration (“Motion”), and in support of this Motion, state as follows:

                       BRIEF STATEMENT OF RELIEF REQUESTED

       1.        The Debtors seek, on an ex-parte basis, an order from this Court directing joint

administration of the above-captioned Chapter 11 cases (the “Case”).

       2.        The Debtors are affiliates within the meaning of 11 U.S.C. § 101(2)(B), as each

are wholly owned by FXE FBO Holdings, LLC. Additionally, the Debtors are jointly and

severally liable to Dade County Federal Credit Union, the holder of a leasehold mortgage against

the Debtors’ respective leasehold interests.

       3.        Joint administration will facilitate the administration of these cases in an orderly

manner and will obviate what will otherwise be duplicative notices, motions, and orders. In
                Case 22-19815-SMG        Doc 8       Filed 12/26/22   Page 2 of 14




addition to promoting judicial efficiency, joint administration will save the debtors’ estates

unnecessary time and expense. The Court is authorized to grant the relief requested herein

without notice and a hearing as provided in Local Rules 1015-1(B)(2)(a), 5005-1(G)(1)(a), and

9013-1(c)(14). The Debtors anticipate that creditors will likely not oppose the relief requested

herein, as this Motion seeks procedural relief only and does not seek substantive consolidation.

                                    JURISDICTION AND VENUE

       4.       This Court has jurisdiction over this Motion under 28 U.S.C. §§157 and 1334.

Venue is proper under 28 U.S.C. §§ 1408 and 1409. This is a core proceeding as defined in

28 U.S.C. §157(b)(2)(A) and (M).

       5.       The statutory predicate for the relief requested herein is Federal Rule of

Bankruptcy Procedure 1015.

                                        BACKGROUND

A.     Filing

       6.       On December 26, 2022, the Debtors each filed a voluntary petition under Chapter

11 of Title 11 of the United States Code. The Debtors are in possession of their assets and

operating their businesses as debtors-in-possession pursuant to the authority of 11 U.S.C. §§

1107 and 1108.

B.     Organizational Background

       7.       The Debtors are Florida limited liability companies. Each of the Debtors is wholly

owned by FXE FBO Holdings, LLC, a Florida limited liability company (“FBO Holdings”).

FBO Holdings is majority owned by Ignacio Martinez, who is a FAA-licensed private pilot with

instrument and multi-engine ratings and has a background in real estate development.




                                                 2
              Case 22-19815-SMG          Doc 8       Filed 12/26/22   Page 3 of 14




C.     Business Operations

       8.      KCFXE is a party to a lease agreement with the City of Fort Lauderdale (“City”),

which was entered into by the parties on October 20, 2009 (the “FXE Lease”). The

commencement date of the Lease was November 1, 2009 (the “Lease Commencement Date”).

       9.      In accordance with the FXE Lease, KCFXE leases Parcel 8AB, which consists of

approximately 8.7 acres of land located at 5900 NW 24th Way, Fort Lauderdale, Florida 33309

(the “Parcel 8AB”) and is situated at the Fort Lauderdale Executive Airport (the “FXE”).

       10.     Parcel 8AB is used as a fixed base operation or “FBO”.

       11.     While KCFXE holds the FXE Lease with the City, W Aviation, LLC (“W”),

which is an affiliate of the Debtors and wholly owned by FBO Holdings, operates the FBO and,

in doing so, provides jet fuel, hangar space, ramp space, and other services. In turn, W provides

funds to the KCFXE sufficient to cover its operating expenses, including, without limitation, rent

due under the FXE Lease.

D.     The FXE Lease

       12.     In accordance with the FXE Lease, KCFXE agreed to redevelop Parcel 8AB in

the following phases at a cost of $5,000,000.00: (a) Phase 1 involved the demolition and clearing

of an old restaurant facility and was completed on schedule (“8AB Phase 1”); (b) Phase 2

involved the construction of 21,577 square feet of a new aircraft hangar and office facility,

roadway access, parking, and other site improvements and was to have been completed within

thirty-six (36) months of the Lease Commencement Date (“8AB Phase 2”); and (c) Phase 3

involved the construction of two aircraft hangars totaling approximately 39,300 square feet and a

10,000 square foot, two-story office facility and was to have been completed within ten (10)

years of the Lease Commencement Date (“8AB Phase 3”).



                                                 3
                Case 22-19815-SMG         Doc 8       Filed 12/26/22   Page 4 of 14




       13.      The FXE Lease provided for monthly rent in the amount of $10,401.90, with

annual increases, together with a percentage of aviation fuel sales.

       14.      In the event of a default in payment of rent, KCFXE was afforded a thirty (30)

day grace period. In the event of a default in the performance of any obligation, other than rent,

KCFXE was afforded a thirty (30) day grace period; provided, however, if such default could not

with due diligence be cured within thirty (30) days, any right of termination was extinguished in

the event the KCFXE proceeded diligently, continuously and with reasonable dispatch to cure

such default.

       15.      The FXE Lease was subsequently amended as follows: (a) the First Amendment,

dated June 19, 2012, provided that (i) the 8AB Phase 2 deadline was extended to five (5) years,

and the Base Rent was increased from $124,822.83 to $145,818.66, annually; (b) the Second

Amendment, dated August 16, 2016, provided that (i) the 8AB Phase 2 deadline was extended to

332 days following issuance of all necessary building permits, and (ii) the 8AB Phase 3 deadline

was extended to December 31, 2022; (c) the Third Amendment, dated May 1, 2020, deferred the

May and June 2020 lease payments, as a result of COVID-19, and amortized the amounts in

equal installments for the remainder of 2020; and (d) the Fourth Amendment, dated August 16,

2022, modified the payments due based on aviation fuel sales.

E.     TV Lease

       16.      On February 24, 2020, TV entered into a lease agreement with the City (the “TV

Lease”). In accordance with the TV Lease, TV leases Parcel 8G (“Parcel 8G”), which adjoins

Parcel 8AB.

       17.      Parcel 8G consists of approximately 3 acres located at FXE and is to be used as a

“terminal building” for Parcel 8AB.



                                                  4
               Case 22-19815-SMG          Doc 8       Filed 12/26/22   Page 5 of 14




       18.     In accordance with the TV Lease, TV agreed to the following: (a) demolish the

interior of the existing building on Parcel 8G by May 31, 2020 (“8G Phase 1”); (b) complete

interior remodeling of the first floor, exterior landscaping, painting, and restriping of the parking

lot by December 31, 2020 at a cost of at least $625,000.00 (“8G Phase 2”); and (c) complete

interior remodeling by July 31, 2021 at a cost of at least $505,000.00 (“8G Phase 3”).

       19.     The TV Lease was subsequently amended as follows: (a) the First Amendment,

dated May 1, 2020, provided for deferment of rent due for May and June 2020 and amortized

such amounts over the remainder of 2020; and (b) the Second Amendment, dated April 20, 2021,

provided that (i) the 8G Phase 2 deadline was extended to December 31, 2021, and (ii) the 8G

Phase 3 deadline was extended to July 31, 2022.

F.     Third Party Negotiations

       20.     In June 2021, the Debtors began negotiations with a third party (the “Third

Party”) regarding the sale of their interests under the FXE Lease, the TV Lease, and the FBO,

which were valued at approximately $35,000,000.00.

       21.     The Third Party had a different development plan for Parcel 8G, which provided,

in part, for demolition of the building situated on Parcel 8G.

       22.     The City was aware of, and encouraged, the discussions occurring between the

Debtors and Third Party. The City also endorsed the proposed transaction and development plan

proposed by Third Party.

       23.     On March 14, 2022, representatives of the Debtors, Ignacio Martinez, and their

counsel, met with representatives of the City, including its Mayor, the Airport Director, the

Assistant City Attorney, and the Mayor’s Chief of Staff. At the conclusion of the meeting, the

Mayor suggested an amendment to the TV Lease that would (a) afford TV until the end of



                                                  5
              Case 22-19815-SMG          Doc 8       Filed 12/26/22   Page 6 of 14




September 2022 to conclude negotiations with Third Party, and (b) provide that TV would apply

for building permits before the end of 2022, necessary to complete the 8G Phase 1 and 8G Phase

3 improvements, in the event the negotiations with Third Party fell through.

       24.     On or about March 24, 2022, TV, jointly with representatives of the City,

presented the Third Party development plan to the City’s Aviation Advisory Board (the “AAB”).

These plans were inconsistent with those contemplated under the TV Lease.

       25.     Upon the City’s staff recommendation of approval and presentation by TV, the

AAB unanimously recommended approval of the modified plans to the City Commission and

also the third amendment (the “Proposed Third Amendment”) to the TV Lease to allow TV

additional time to complete the 8G Phase 2 improvements. The foregoing was further evidenced

by a draft of the Proposed Third Amendment to the TV Lease.

       26.     Approval of the Proposed Third Amendment was scheduled for approval at the

meeting of the City Commission as part of the May 2022 agenda.

G.     The Dispute

       27.     Unbeknownst to the Debtors, it is believed the City had been dealing directly with

the Third Party, and in a drastic turn of events, on April 14, 2022, TV was advised that the City

would not be moving forward with the Proposed Third Amendment, which had been removed

from the City Commission’s agenda.

       28.     On the very next day, April 15, 2022, the City notified TV of an alleged default

and provided TV sixty (60) days to cure the default relating to the 8G Phase 2 improvements.

       29.     On April 19, 2022, TV notified the City that it would cure the alleged default and

referenced the section of the TV Lease which required TV to diligently, continuously and with




                                                 6
              Case 22-19815-SMG          Doc 8       Filed 12/26/22   Page 7 of 14




reasonable dispatch to cure the default, since the alleged default was not related to a default in

payment of rent.

       30.     Since the City’s declaration of default, TV has proceeded, in good-faith,

including, without limitation, (a) receiving signed and sealed construction plans, (b) engaging the

services of a permit expediter, (c) hiring a general contractor to submit permit applications for

8G Phase 2, (d) commencing work on the 8G Phase 2 improvements, (e) obtaining the City’s

approval of TV’s commercial permit, and (f) obtaining the commercial permit, which will enable

TV to commence the remainder of work to complete the 8G Phase 2 improvements.

       31.     On June 24, 2022, TV attempted to make the June 2022 rent payment, which was

returned by the City, since the City alleged that the TV Lease had been terminated, a position

which is vehemently disputed by the Debtors. The City then commenced an eviction action

against TV, and TV filed its answer, affirmative defenses, and counterclaim. The litigation is

pending before the County Court of the Seventeenth Judicial Circuit in and for Broward County,

Florida, Case No. COWE-22-001830.

       32.     To date, TV has expended more than $2,000,000.00, and the improvements under

the TV Lease, as amended, should be completed within a matter of months.

H.     Effects on KCFXE

       33.     As a result of the foregoing, the City has refused to facilitate KCFXE’s

completion of the improvements under the FXE Lease. Moreover, KCFXE has proceeded

diligently towards completion of the improvements under the FXE Lease.

       34.     The City offered to cooperate with KCFXE on Parcel AB, provided that TV

surrender possession of Parcel 8G; however, as noted hereinafter, the Debtors’ lender was

granted a leasehold mortgage against Parcel 8G and Parcel 8AB. The City also pronounced to the



                                                 7
               Case 22-19815-SMG          Doc 8       Filed 12/26/22   Page 8 of 14




aviation community that it would be terminating the FXE Lease. To date, KCFXE has expended

approximately $25,000,000.00 on Parcel 8AB.

I.     Financing

       35.     On May 28, 2021, the Debtors, W and FBO Holdings (collectively, the

“Borrowers”) entered a loan transaction (the “Loan”) with Dade County Federal Credit Union

(the “Lender”). In accordance with the Loan, the Lender loaned $10,500,000.00, the proceeds of

which were intended to be used, in part, for purposes of funding the improvements under the

FXE Lease and the TV Lease.

       36.     In connection with the Loan, the Borrowers executed and delivered the following:

(a) a promissory note in the amount of $10,500,000.00 (the “Note”); (b) a Leasehold Mortgage

Deed and Security Agreement (the “Mortgage”), pursuant to which the Debtor and TV granted a

leasehold mortgage against the FXE Lease and TV Lease; and (c) a Conditional Assignment of

Rents, Profit, Income and Leases (the “Assignment” and, collectively with the Note and

Mortgage, the “Loan Documents”). Additionally, Ignacio Martinez delivered a personal guaranty

in favor of the Lender, thus guaranteeing payment of the Note.

       37.     The Borrowers are current under the Loan Documents and no default has ever

been declared by the Lender.

I.     Bankruptcy

       38.     The Debtors commenced these cases to preserve the FXE Lease, the TV Lease,

their value, and the value of the FBO, as well as to complete the improvements under the FXE

Lease and TV Lease. The Debtors believe there is substantial equity in the assets and FBO and,

therefore, the Debtors wish to preserve the equity for the benefit of creditors and equity.




                                                  8
               Case 22-19815-SMG            Doc 8       Filed 12/26/22   Page 9 of 14




                                      RELIEF REQUESTED

        39.     Bankruptcy Rule 1015(b) provides in relevant part as follows: “[i]f a joint petition

or two or more petitions are pending in the same court by or against . . . a debtor and an affiliate,

the court may order a joint administration of the estates.” Fed. R. Bankr. P. 1015(b).

        40.     The Debtors are “affiliates” as such term is defined in Section 101(2) of the

Bankruptcy Code. Bankruptcy Rule 1015 promulgates the fair and efficient administration of

multiple cases of affiliated debtors, like here, while protecting the rights of individual creditors.

See In re PL Liquidation Corp., 305 B.R. 629, 633 (Bankr. D. Del. 2004); In re N.S. Garrott &

Sons, 63 B.R. 189, 191 (Bankr. E.D. Ark. 1986); In re H&S Trans. Co., 55 B.R. 786, 791

(Bankr. M.D. Tenn. 1982). While the Debtors are separate and distinct, the issues that will be

addressed in these bankruptcy cases will be related and overlapping. Accordingly, the Court is

authorized to grant the relief requested.

        41.     The Debtors submit that joint administration of their Chapter 11 cases will obviate

the need for duplicative notices, motions, applications, hearings and orders and will, therefore,

save save considerable time and expense for the Debtors and their estates.

        42.     Pursuant to the requirements of Local Rule 1015-1(B)(1), the Debtors state that

joint administration will not give rise to any conflict of interest among the estates of the Debtors.

The rights of the respective creditors of the Debtors will not be adversely affected by the

proposed joint administration because the Debtors will continue to remain separate and distinct

legal entities and will continue to maintain separate books and records. Moreover, each creditor

may still file its proof of claim against a particular estate. In fact, the rights of all creditors will

be enhanced by the reduction in costs resulting from joint administration. The Court also will be

relieved of the burden of scheduling duplicative hearings, entering duplicative orders, and



                                                    9
                Case 22-19815-SMG               Doc 8      Filed 12/26/22        Page 10 of 14




maintaining redundant files. Finally, supervision of the administrative aspects of these Chapter

11 cases by the Office of the United States Trustee will be simplified.

         43.     The interests of the Debtors, their estates, and all parties-in-interest would best be

served by joint administration of the Debtors’ Chapter 11 cases.

         WHEREFORE, the Debtors respectfully request that this Court enter an ex-parte order

granting the Motion, the proposed form of which is attached hereto as Exhibit “A”, approving

the joint administration of the Cases, and granting such further and other relief as may be just

and appropriate.

         RESPECTFULLY SUBMITTED this 26th day of December 2022.

         I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the Southern
District of Florida, and I am in compliance with the additional qualifications to practice in this Court set forth in
Local Rule 2090-1(A).

                                                      SEESE, P.A.
                                                      Proposed Counsel for Debtors
                                                      101 NE 3rd Avenue
                                                      Suite 1500
                                                      Ft. Lauderdale, Florida 33301
                                                      Telephone: (954) 745-5897

                                                      By: _____s/Michael D. Seese
                                                             Michael D. Seese, Esq.
                                                             Fla. Bar No. 997323
                                                             mseese@seeselaw.com




                                                         10
Case 22-19815-SMG   Doc 8   Filed 12/26/22   Page 11 of 14




                    EXHIBIT “A”


                    Proposed Order
              Case 22-19815-SMG           Doc 8    Filed 12/26/22    Page 12 of 14




                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                            FT. LAUDERDALE DIVISION

 IN RE:                                           CASE NO. 22-19815-SMG

 KC FXE AVIATION INVESTMENTS, LLC, CHAPTER 11

        Debtor.


 IN RE:                                           CASE NO. 22-19816-PDR

 TERMINAL VENTURES, LLC,                          CHAPTER 11

        Debtor.



                                 ORDER GRANTING
                       DEBTOR’S EX-PARTE MOTION FOR ENTRY
                   OF AN ORDER DIRECTING JOINT ADMINISTRATION

       THIS MATTER came before the Court without hearing on the Debtors’ Ex-Parte

Motion For Entry of an Order Directing Joint Administration (the “Motion”) filed pursuant to

Fed.R.Bankr.P. 1015 and Local Rule 1015-1(B)(2)(a), and the Court finding that good and

sufficient cause exist in support of the relief requested on an ex-parte basis, and the Court being

otherwise fully advised in the premises, it is

       ORDERED as follows:

       1.         The Motion is GRANTED.
               Case 22-19815-SMG          Doc 8       Filed 12/26/22   Page 13 of 14




         2.     The above-styled Chapter 11 cases shall be jointly administered. The case of KC

FXE Aviation Investments, LLC, Case No. 22-19815-SMG is designated as “lead case.”

         3.     The Clerk of the Court shall maintain a single file and docket for these jointly

administered cases under the “lead case” number. However, proofs of claim filed shall indicate

only the case name and number of the case in which the claims are asserted. Separate claims

files, ballot files, and claims registers shall be maintained for each of the jointly administered

cases.

         4.     A docket entry shall be made on the docket in each of the above-captioned cases

(other than the “lead case”) substantially as follows:

         “An order has been entered in this case directing the joint administration of the
         Chapter 11 cases of KC FXE Aviation Investments, LLC and Terminal Ventures,
         LLC. The docket in Case No. 22-19815-SMG should be consulted for all matters
         affecting this case.”

         5.     Pleadings in these cases are authorized and shall be required to bear the following

caption, which caption is approved in all respects:

                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION

In re:                                                         Chapter 11 Cases

KC FXE AVIATION INVESTMENTS, LLC,                              Case No. 22-19815-SMG
et al.,                                                        (Jointly Administered)_

         Debtors.
                                                         /

         6.     Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of the above-captioned Chapter 11

cases.

         7.     The Court retains jurisdiction to interpret and enforce this Order.


                                                  2
             Case 22-19815-SMG          Doc 8       Filed 12/26/22   Page 14 of 14




                                              ###

Copies furnished to:

Michael D. Seese, Esq.
Seese, P.A.
101 N.E. 3rd Avenue
Suite 1500
Ft. Lauderdale, Florida 33301
Tel. No. (954) 745-5897
mseese@seeselaw.com

Attorney SEESE is directed to serve conforming copies of this Order upon all required parties.




                                                3
